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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 IN RE ARIAD PHARMACEUTICALS, INC.                     )   No. 1:13-cv-12544 (WGY)
 SECURITIES LITIGATION                                 )

JOINT MOTION FOR PRELIMINARY APPROVAL OF PROPOSED CLASS ACTION
                          SETTLEMENT

        The undersigned Parties,1 by and through their counsel, respectfully move this Court for

an Order, pursuant to Rule 23(e) of the Federal Rules of Civil Procedure: (a) granting

preliminary approval to the proposed Settlement; (b) certifying the Settlement Class for

settlement purposes; (c) approving the proposed form of Notice and Publication Notice; (d)

approving the proposed methods of disseminating notice; (e) setting a date for the Settlement

Hearing; and (f) such other and further relief as this Court deems just and proper. In support of

this Joint Motion, the Parties state as follows:

        On May 1, 2017, a mediation session scheduled before Magistrate Judge Donald L.

Cabell was canceled by Court Order, ECF No. 213, and retired United States District Judge Faith

Hochberg was engaged as private mediator by the Parties.

        The mediation before Judge Hochberg took place on May 24, 2017 at the New York

offices of Labaton Sucharow LLP. At this mediation, counsel for the Parties, on behalf of their




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       The “Parties” are (i) the City of Fort Lauderdale Police & Fire Retirement System and
(ii) William A. Gaul (the “Settlement Class Representatives”) on behalf of themselves and the
Settlement Class and (i) ARIAD Pharmaceuticals, Inc. (“ARIAD”) and (ii) Harvey J. Berger,
(iii) Timothy P. Clackson, (iv) Edward M. Fitzgerald, and (v) Frank G. Haluska (the “Individual
Defendants”) (ARIAD and the Individual Defendants are collectively referred to as the
“Defendants” and, together with the Settlement Class Representatives, are referred to as the
“Parties”).
      Capitalized terms not otherwise defined herein have the meanings set forth and defined in
the Stipulation and Agreement of Settlement dated November 29, 2017 (the “Stipulation”) and
filed contemporaneously herewith, as Exhibit 1 to the accompanying Declaration of Sanford P.
Dumain.


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respective clients, entered into a term sheet setting forth all material deal points associated with

the resolution of the Action.

       Based on this term sheet, the Parties subsequently negotiated and executed a Stipulation

and Agreement of Settlement, dated November 29, 2017 (the “Stipulation”).

       Under the terms of the Stipulation, Plaintiffs’ Co-Lead Counsel and Defendants’ Counsel

jointly shall apply to the Court for entry of an Order for Notice and Hearing, substantially in the

form annexed hereto as Exhibit A.

       The Settlement Class Representatives are contemporaneously filing a memorandum and

an accompanying Declaration of Sanford P. Dumain and exhibits attached thereto, incorporated

herein by reference, in support of this Joint Motion.


                                  Local Rule 7.1(a)(2) Certification

       The undersigned Parties, by and through their counsel, hereby certify that they have

conferred in good faith pursuant to Local Rule 7.1(a)(2) regarding the issues raised in this Joint

Motion.

       WHEREFORE, the Parties respectfully request that the Court allow this Joint Motion and

enter the Order for Notice and Hearing, substantially in the form annexed hereto as Exhibit A.




                                [Remainder of this page intentionally left blank]




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DATED: November 29, 2017                       Respectfully submitted,


BERNSTEIN LITOWITZ BERGER &                    MINTZ LEVIN COHN FERRIS
GROSSMAN LLP                                   GLOVSKY AND POPEO PC


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                                    CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of November, 2017, this document filed through the

ECF system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF), and paper copies will be sent to those indicated as non-registered

participants.

                                                                /s/ Sanford P. Dumain
                                                                  Sanford P. Dumain




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